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UNITED STATES DISTRICT COURT ' '
FoR THE WESTERN I)ISTRICT oF TENNESSEE 05 JUN 30 ppg 2, h l

WES'I`ERN DIVISION

CLEFK U.S, Dsim%£r

PATRICIA M. AHNEMAN, JR. fdiin N\‘nrimrg
vs. oler AchoN No. 04-3007-Ma-P
FEDERAL ExPREss CoRPoRATloN DEFENDANT

STIPULATED PROTECTIVE ()RDER

The parties, by and through their counsel of record, state to the Court, subject to
its approval, that the following terms and conditions by stipulation shall govern the
disclosure and use of` all confidential and proprietary information disclosed by the parties
and designated as such.

l. Specifically, the parties, pursuant to this Protective Order, may produce copies
of certain proprietary and/or confidential documents including training guides and
manuals (collectively referred to as “Confidential Informatiorl”). The Confidential
Inf`ormation is confidential and/or proprietary Within the meaning of the F ederal Rules of
Civil Procedure. The documents shall be marked “Confidential” on each page.

2. It is specifically understood and agreed that the Confidential Information shall
be used solely in connection With this litigation, including any subsequent appeal.

3. This Stipulated Protective Order is binding on the parties and the respective
counsel of record.

4. The Confidential lnformation including all derivative information therefrom,
shall not be disclosed to any person other than the parties, the court; judicial officers and
personnel; counsel of record in this litigation and members and associates of` their

respective staffs; the clerical and arale al staff of counsel of record in this litigation.

Thls document entered on the docket
with Hula 58 and/or 79(a) FRCP on

  

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Other than the above-named individuals, the Confidential Inforrnation may not be
circulated or provided to any individual without the written permission of counsel for the
party Who produced the Confidential Inforrnation, obtained in advance of the disclosurel

5. If the Confidential Information, or any portions thereof, are used in any
deposition, all portions of the transcripts of such depositions and all exhibits that refer or
relate to the Confidential Information shall be deemed to be Confidential Inforrnation and
subject to the terms and restrictions of this Order. A separate transcript of the portion(s)
of the deposition may be created to preserve the confidentiality of the information and for
the convenience of the Court and counsel.

6. If documents or other materials deemed confidential are filed with the Court,
they shall be filed under Seal and marked as follows:

CONFIDENTIAL
IN ACCORDANCE WITH A PROTECTIVE ORDER, THE ENCLOSURE(S)
SHALL BE TREATED AS CONFIDENTIAL AND SHALL NOT BE

SHOWN TO ANY PERSON OTHER THAN THOSE PERSONS
DESIGNATED IN PARAGRAPH 5 OF THE PROTECTIVE ORDER.

7. Nothing in this Order shall bar or otherwise restrict any attorney herein from
rendering advice to his client with respect to this litigation.

8. This Stipulated Protective Order shall not constitute a waiver of any party’s or
non-party’s right to oppose any discovery request as provided under Tennessee and
Federal Law.

9. Within 60 days of the final determination of this action, all persons subject to
this Order shall return all the Confidential Information (and all summaries, extracts and
other documents containing information referring to or derived from) including all copies

thereof, to counsel for the party who produced the Confidential Inforrnation.

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lO. Counsel for the parties may agree in writing to any specific disclosure of the
Confidential Information in a particular circumstance without prejudice to the continued
application to this Order as to the use of that document or thing.

11. No disclosure of Confidential Inforrnation whether intentional or inadvertent
shall be deemed to waive any of the rights provided herein. Disclosure of Confidential
Information for one purpose does not constitute a waiver for any other purposes

12. The intentional disclosure of documents which are marked "privileged and
confidential" or "attorney-client" or "work product" does not constitute a waiver of any
applicable privileges to any other related privileged documents or other privileged
documents. It is expressly understood by the parties that regardless of a "privileged"
notation on the document, a determination must still be made as to Whether a document is
actually subject to any privileges for purposes of the litigation. This agreement
recognizes the fact that a party should not be punished for conducting that analysis by the
requirement of a waiver of privilege as to any related documentsl

13. lnsofar as the provisions of this Protective Order restrict the disclosure and/or
use of Confidential Information produced hereunder, this Order shall continue to be
binding after the conclusion of this litigation. A party may seek Written permission to
modify this Protective Order. Absent agreement of the opposing party, or an Order of the
Court, this Order may not be changed or modified in any respect and shall remain in full

force and effect

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UNITED STATES COURT MAGISTRATE JUDGE

 

Attorney for Plaintiff

   

errald L. Shivers
Attorney for Federal Express Corporation

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Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:04-CV-03007 was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

Stephen H. Biller

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Honorable Samuel Mays
US DISTRICT COURT

